           Case 4:24-cv-01992-HSG       Document 86     Filed 02/19/25    Page 1 of 2




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14                              UNITED STATES DISTRICT COURT FOR THE
15                                NORTHERN DISTRICT OF CALIFORNIA
16                                       OAKLAND DIVISION
17   AFRICAN AMERICAN TOBACCO CONTROL
     LEADERSHIP COUNCIL, et al.,                      Case No. 4:24-cv-1992-HSG
18
                  Plaintiffs,
19
            v.
20                                                    ORDER
     U.S. DEPARTMENT OF HEALTH AND
21   HUMAN SERVICES, et al.,                          (Administrative Procedure Act Case)
22                Defendants.                         Judge: Hon. Haywood S. Gilliam, Jr.
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     ORDER
     CASE NO. 4:24-CV-1992-HSG
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           Case 4:24-cv-01992-HSG           Document 86        Filed 02/19/25      Page 2 of 2




 1         Having considered the parties’ February 18, 2025 Joint Submission, the Court ORDERS that this

 2 case shall proceed as follows:

 3         •   This case is STAYED until August 18, 2025, on which date the stay will be lifted.
 4         •   Plaintiffs may file a Third Amended Complaint on or before September 18, 2025.
 5         •   Defendants may file a motion to dismiss the Third Amended Complaint by October 29, 2025.
 6         •   14 days after the Court’s resolution of any such motion to dismiss—or if no motion is filed,
 7             14 days after the deadline to file such a motion has elapsed—the parties shall file a joint

 8             submission containing their joint or separate proposals about a schedule for further

 9             proceedings.

10         •   In light of the above, Defendants’ pending motion to dismiss (ECF No. 56) is
11             TERMINATED AS MOOT, though Defendants may renew that motion if Plaintiffs do not

12             file a Third Amended Complaint by September 18, 2025.

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     Dated: 2/19/2025                                    ______________________________________
15                                                       HAYWOOD S. GILLIAM, JR.
                                                         UNITED STATES DISTRICT JUDGE
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     ORDER
     CASE NO. 4:24-CV-1992-HSG
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